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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


 THE STATE OF OHIO,

 and

 THE UNITED STATES OF AMERICA,

 Plaintiffs,

 v.                                                    Civil Case No. 23-cv-517
                                                       Hon. John R. Adams

 NORFOLK SOUTHERN RAILWAY
 COMPANY,

 and

 NORFOLK SOUTHERN CORPORATION,

 Defendants.



JOINT MOTION FOR STAY OF DISCOVERY DEADLINES APPLICABLE BETWEEN
            THE UNITED STATES AND NORFOLK SOUTHERN



         Plaintiff, the United States of America, and Defendants, Norfolk Southern Railway

Company and Norfolk Southern Corporation (collectively “Norfolk Southern”) jointly move the

Court to stay the discovery and dispositive motion deadlines in the Court’s April 15, 2024 Case

Management Plan as applicable between the United States and Norfolk Southern.

         The United States and Norfolk Southern have reached agreement on a settlement that

would resolve the United States’ claims against Norfolk Southern in this matter. The settlement

is embodied in a proposed Consent Decree which was lodged with the Court on May 23. In
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accordance with 42 U.S.C. § 9622(d)(2) and 28 C.F.R. § 50.7, the United States published notice

of the proposed Consent Decree in the Federal Register to commence a 30-day public comment

period, which would end on July 1.

       On June 6, the State of Ohio filed a notice with the Court requesting that the United

States extend the public comment period until no earlier than August 1. The United States has

submitted to the Federal Register for publication a notice extending the public comment period

through August 2.

       In light of the proposed settlement and the expeditious deadlines set in this case, the

United States and Norfolk Southern jointly request that the Court enter an indefinite stay of all

discovery and dispositive motion deadlines applicable between the United States and Norfolk

Southern. This stay would prevent the parties from using resources litigating the United States’

claims after having already reached a settlement.




                                              Respectfully submitted,

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